     Case: 1:18-cv-01546 Document #: 13 Filed: 03/27/18 Page 1 of 1 PageID #:680

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

William M Stephens
                                      Plaintiff,
v.                                                      Case No.: 1:18−cv−01546
                                                        Honorable Robert M. Dow Jr.
Select Portfolio Servicing, Inc.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 27, 2018:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Select Portfolio
Servicing, Inc.'s uncontested motion for an extension of time to file its responsive
pleading to Plaintiff's complaint [11] is granted. Notice of motion date of 3/28/2018 is
stricken and no appearances are necessary on that date. Mailed notice(cdh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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